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17

18                              UNITED STATES DISTRICT COURT

19                           NORTHERN DISTRICT OF CALIFORNIA

20                                       SAN JOSE DIVISION

21     IN RE GOOGLE PLUS PROFILE                     Case No. 5:18-cv-06164-EJD (VKD)
       LITIGATION
22                                                   FINAL JUDGMENT

23

24

25

26         On January 25, 2021, the Court granted Plaintiffs’ Motion for Final Approval and Motion for

27 Attorneys’ Fees, Costs, and Expenses and Service Award. (Dkt. 110) (the “Final Approval Order”).

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 1          As part of the Final Approval Order, the Court certified the following class of persons for

 2 purposes of settlement:

 3          All persons residing within the United States who (1) had a consumer Google+
            account for any period of time between January 1, 2015 and April 2, 2019; and (2)
 4          had their non-public Profile Information exposed as a result of the software bugs
            Google announced on October 8, 2018 and December 10, 2018.
 5

 6 (the “Settlement Class”).

 7          This Final Judgment adopts the terms and definitions set forth in the Settlement Agreement.
 8          JUDGMENT IS HEREBY ENTERED pursuant to Federal Rule of Civil Procedure 58 as
 9 to the Settlement Class (excluding the persons who validly and timely requested exclusion, reflected

10 in Dkt. 96-1 and the objections construed as exclusions (i.e., Objections 56, 70, 116, 208, 235, 237,

11 275, 532, 737, and 793)), the Named Plaintiffs, and Defendant on the terms and conditions of the

12 Settlement Agreement and as approved by the Final Approval Order.

13          Payments under the Settlement Agreement shall be made as outlined in the Final Approval
14 Order and Settlement Agreement.

15          As of the Effective Date, Releasing Named Plaintiffs and the Releasing Class Members shall
16 waive, release, forever discharge, and will not in any manner pursue the Released Claims as defined

17 and set forth in Section 1.37 of the Settlement Agreement against Google, its affiliates, and their

18 respective officers, directors, employees, members, agents, attorneys, administrators, representatives,
19 insurers, beneficiaries, trustees, shareholders, investors, contractors, joint venturers, predecessors,

20 successors, assigns, transferees, and all other individuals and entities acting on Google’s behalf in

21 connection with the Released Claims.

22          The Clerk is directed to close this case.
23 IT IS SO ORDERED.

24
     Dated: January 25, 2021
25

26                                                            ______________________________________
                                                              HON. EDWARD J. DAVILA
27                                                            UNITED STATES DISTRICT JUDGE
28                                                      -2-
